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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

ALEXANDRIA DIVISION

JANE DOE )
By her parents and next friends, )
JANE ROE AND JOHN DOE )

)
v. ) Case No.:

)
LOUDOUN COUNTY )
SCHOOL BOARD, )

)

Defendant.
COMPLAINT

NOW COMES the Plaintiff, Jane Doe, by her parents and next friends, Jane Roe
and John Doe, through counsel, and states the following as and for her Complaint

against the Loudoun County School Board:

. This is a civil rights case brought by Jane Doe, a graduate of Loudoun County Public

Schools hereinafter (“LCPS”), who, at age 15, was sexually assaulted by a younger
male LCPS student in a female bathroom at Stone Bridge High School (hereinafter “the
incident”).

Despite being fully aware of the aforementioned incident school officials failed to
complete a thorough, timely investigation of the incident and even endeavored to cover
up said incident.

LCPS also failed to offer or provide Jane Doe with the support she needed to feel safe at
school, where she continued to attend class.

As a result of LCPS’s failure to take meaningful and appropriate action to address her
sexual assault and protect her from further threats and assault, Jane Doe struggled

academically, emotionally, and physically for the remainder of the school year. She

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continues to struggle significantly with the aftermath of the sexual assault and the
school’s failure to take appropriate action to help her and protect her while she still was
attending Loudoun County Public Schools.

LCPS’s failure to respond promptly and adequately to reports that Jane Doe was
sexually assaulted by another LCPS student constitutes sex discrimination, in violation
of Title IX of the Education Amendments of 1972 (“Title IX’”’).

After the sexual assault, Jane Doe was physically assaulted, threatened, and bullied by
peers in a targeted form of harassment that was so severe, pervasive, and objectively
offensive that it deprived her of access to a safe educational environment. LCPS took no
action in support and/or protect her at this time or at any time prior to or after the sexual
assault despite of having full knowledge of same.

With 92,000 students, LCPS’s deliberate indifference to sexual assault within the
student body is subjecting an unconscionable number of students, including Jane Doe, to
a hostile educational environment based on sex.

LCPS is in loco parentis of Jane Doe and all other students while they are on school
property.!

As the entity that manages and operates LCPS, Defendant Loudoun County School
Board is responsible for LCPS’s Title EX violations.

JURISDICTION AND VENUE

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' “When parents place minor children in private schools for their education, the teachers and
administrators of those schools stand in loco parentis over the children entrusted to them. In fact, the tutor
or schoolmaster is the very prototype of that status. As Blackstone describes it, a parent ‘may . . . delegate
part of his parental authority, during his life, to the tutor or schoolmaster of his child; who is then in loco
parentis, and has such a portion of the power of the parent committed to his charge, viz. that of restraint
and correction, as may be necessary to answer the purposes for which he is employed.’” Vernonia Sch.
Dist. 47J v. Acton (94-590), 515 U.S. 646 (1995). 1 W. Blackstone, Commentaries on the Laws of
England 441 (1769).

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This Court has jurisdiction over Plaintiffs claims pursuant to 28 U.S.C. § 1331 because
the matters in controversy arise under the laws of the United States. Specifically, the
Plaintiff asserts a claim under Title IX of the Education Amendments of 1972, 20 U.S.C.
§ 1681, ef. seq.
Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because Defendant
Loudoun County School Board resides within this Court’s judicial district and a
substantial and the consequential part of the events or omissions giving rise to the claims
occurred within this district.

PARTIES
Plaintiff Jane Doe (hereinafter “Jane Doe”) is now a 17-year-old female who resides
with her parents in Loudoun County, Virginia. Jane Doe is suing the Defendant through
her next friends and parents, Jane Roe and John Doe.
Defendant Loudoun County School Board (hereinafter “LCSB”) is a public-school
board that is responsible for overseeing the operation and management of the public
education system of Loudoun County Public Schools (hereinafter “LCPS”).
Defendant LCSB is the body corporate for LCPS and is vested with all powers and
charged with all duties, obligations, and responsibilities imposed upon LCPS.
Defendant LCSB is the public body “that governs” [the] school division” of LCPS
within the meaning of Va. Code Ann. § 22.1-1, VA. Const., Art. VIII § 7 (“The
supervision of schools in each school division shall be vested in a school board”), Va.
Code An § 22.1-28 (“supervision of schools in each school division shall be vested in a
school board”), and Va. Code Ann. § 22.1-71 (stating that the “school board” is the

“body corporate” with the power to “sue” and “‘be sued”).

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As the corporate body for LCPS, Defendant LCSB is a recipient of federal financial
assistance within the meaning of 20 U.S.C. § 1681(a).

FACTS RELEVANT TO CLAIM
Policy 1040, the LCPS policy that was put in place before the controversial transgender
“bathroom” policy 8040, prevented staff from intervening when a student visited a
restroom different from his/her biological sex. The policy reads, in part: ““Demeaning or
otherwise harmful actions are prohibited, particularly if directed at personal
characteristics, including, but not limited to socioeconomic level, sexual orientation,
perceived sexual orientation, gender identity, or gender expression.” (Exhibit 1 policy).
On May 28, 2021, 15-year-old Jane Doe was sexually assaulted in a women’s restroom
at Stone Bridge High School by a skirt-wearing male.
Jane Doe reported the sexual assault to the school.
Jane Roe received a call from a staff member at the school informing her that Jane Doe
had been “beaten up” by a male in a female restroom—but failed to inform her of the
sexual assault.
When Jane Roe arrived at the school, she found Jane Doe with her school counselor,
Cynthia McCarthy.
Jane Roe tried to communicate with Jane Doe but was told by McCarthy: “Shh...We
can’t talk about it.”
It was only after Jane Roe’s persistence in talking with her daughter that she became
aware that Jane Doe had been sexually assaulted through short verbal exchange with
one-worded questions such as “Physical?” “Sexual?” “Penetration?”

McCarthy then bizarrely asked Jane Roe and Jane Doe about their summer plans,

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refusing to address the assault or take any protective measures to ensure Jane Doe’s
safety.

Once John Doe arrived at the school, Jane Roe asked McCarthy to go and support Mr.
Doe. McCarthy left the office abandoned the family and never returned.

John Doe expressed his frustration at the school’s failure to take the incident seriously—
the school insisted that it would handle the investigation in-house without the assistance
of local law enforcement and refused to report the incident to the proper law
enforcement. John Doe became so upset about the school’s lack of involvement of law
enforcement in the matter at that time, that he allegedly “caused an incident at the front
office” that eventually required the school to call law enforcement to the school for his
behavior, and not for investigation of the sexual assault that had occurred to his daughter
earlier in the day.

School Resource Officer Henry did not question Jane Doe about the incident, except for
the one time he asked her whether the sexual assault really happened.

At the insistent of the members of the Loudoun County Sheriff’s Office Jane Doe and
her parents were then escorted to the Loudoun County Sherriff’s Office to meet with the
Special Victims Unit (SVU), then to Cornwall Inova Hospital, where they entered the
Loudoun Child Advisory Center with SVU. Jane Doe was interviewed there and handed
over her clothes and cell phone.

Later that night, an SVU officer came to the Doe house and swabbed Jane Doe’s face
and teeth.

A full rape kit exam was performed the next morning on May 29".

Stone Bridge High School Principal Tim Flynn sent out a statement to parents the same

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day, but bizarrely only referenced John Doe’s aforementioned actions that day. There
was no mention of the assault: “There was an incident in the main office area today that
required the Loudoun County Sheriff's Office to dispatch deputies to Stone Bridge. The
incident was confined to the main office and the entrance area to the school. There was
no threat to the safety of the student body... Students might have noticed Sheriff's
Office personnel on campus and I wanted to let you know that something out of the
ordinary happened at school today.” (Exhibit 2). (Emphasis added).

On June 1*, Jane Doe returned to school after law enforcement assured John Doe and
Jane Roe that a safety plan was in place for Jane Doe. However, no safety plan was put
in place to protect Jane Doe from further harm. Jane Doe, Jane Roe, and John Doe were
all told to leave the school premises.

On June 2", Jane Doe was admitted to the hospital for two weeks for physical, mental,
and emotional trauma she suffered because of the sexual assault.

John Doe was banned from Stone Bridge High school on June 2nd and was subsequently
arrested at a meeting of the Loudoun County School Board that he attended for
disorderly conduct and obstruction of justice on June 22"¢

At that school board meeting, the Superintendent of LCPS denied that a sexual assault
had ever taken place in a bathroom in any of their schools, as the school board was
discussing enlarging their 1040 transgender policies to reflect guidance set forth by the
Virginia Department of Education (VDOE) (proposed as “8040 guidelines”). These
proposed guidelines included but were not limited to allowing those students who
identified as a gender other than their biological gender to have access to the bathroom

of their preferred gender identification. The revelation that a rape of a female student in

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the female bathroom at a LCPS school by a “gender fluid” male wearing a skirt during
Pride Month would have presented awkward unwanted facts that would have harmed the
school board’s efforts to adopt such a policy, one that was overwhelmingly favored by
the board members.

Specifically, at the school board meeting on June 22, 2021, LCSB Superintendent Scott
Ziegler lied that he was unaware of the sexual assault, despite the fact that Loudoun
County Sherriff’s office conducted a two-month investigation into the assault: “To my
knowledge, we don't have any record of assaults occurring in our restrooms.” Ziegler
lied and added: “I think it's important to keep our perspective on this, we've heard it

several times tonight from our public speakers but the predator transgender student or

person simply does not exist.” (Exhibit 3). (Emphasis added).

This political motive to avoid acknowledgement of what happened to Jane Doe led to
LCSB’s failure to take remedial, supportive measures to provide her with a safe school
environment after the sexual assault.

In fact, Superintendent Ziegler had in actuality emailed each member of the Loudoun

County School Board on May 28" notifying them of the sexual attack. (Exhibit 4).
Initially, LCSB said it was prevented from handling the sexual assault because of its
need to comply with law enforcement, and that it could not discipline the assailant until
the law enforcement investigation was concluded. This assertion was incorrect or simply
plain false.

On October 25, 2021, the assailant was found guilty of sexually assaulting Jane Doe.

In November of 2021, Ziegler wrote the Loudoun County Sherriff’s Office and stated

that the school board “‘cannot confirm” that it had received notification that the

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perpetrator of the sexual assault had been criminally charged. (Exhibit 5).

Damningly, a response letter written on November 10, 2021 (Exhibit 6), Sheriff Michael
Chapman contradicted Ziegler’s claim. In his letter, Chapman referenced a letter from
July 9, 2021, where the Loudoun Juvenile Detention Center informed the school that the
perpetrator had been taken into custody.

In the November 10 letter (Exhibit 6), Chapman said that Ziegler was “unmistakably
aware of the offense” and that he knew of the assault on the same day it occurred in
May, since he “personally reported” the assault to the school board that day: “Nothing in
your letter addresses the following facts,” Chapman wrote to Ziegler. “That you knew of
the alleged sexual offense the day it occurred. That despite a public statement at a
School Board meeting on June 22, 2021 denying any knowledge of sexual assaults in
any LCPS bathrooms, you sent an email on May 28, 2021 to members of the school
board advising them of the incident — thus invalidating your public statement.”
Chapman blamed LCSB for the second assault, writing that the district chose to allow
“this individual into (another) high school population,” where he assaulted another
young woman, despite the knowing of the “serious nature of the [first] assault:” “The
consequences of that decision resulted in a second student being victimized by the same
student.”

Chapman also expressed concerns about Ziegler’s ability to oversee an official
investigation: “I noticed that you commissioned an ‘independent’ review, which I
assume will be paid for by the LCPS using Loudoun County taxpayer dollars. You
announced this a day after incoming Attorney General Jason Miyares stated publicly that

he intends to investigate this incident. While I believe an independent review would be

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helpful, I have concerns of the legitimacy of such a review conducted at your direction.
As the Attorney General is accountable to the citizens of Virginia, I feel an Attorney
General review is the most objective way to move forward on this issue.”

46. Meanwhile, Jane Doe has been incessantly reminded of her assault, bullied by some of
her peers, and forced to create a new normal where she lives in fear of retaliation from
classmates from where she reported the sexual assault:

a. Jane Doe received a written threat of physical violence from a classmate on
August 26". Jane Roe and Jane Doe reported this threat to the school. Jane
Roe then reported this incident to the Loudoun County Sherriff’s Office after
LCPS failed to respond to the incident in a timely manner. This was a sex-
based threat and was made in retaliation for Jane Doe’s report of her sexual
assault and other opposition to sex-based mistreatment at the school.

b. Jane Doe was physically assaulted by a classmate on September 8". This was
a sex-based assault and was committed in retaliation for her report of the
initial sexual assault and other opposition to sex-based mistreatment. This
incident was recorded by the same student who threatened Jane Doe with
physical violence on August 26". Jane Doe reported this incident to LCPS,
and despite the seriousness of the threat, the perpetrator was suspended for
less than a week.

c. Jane Doe was again threatened by several classmates on October 14". These
were sex-based threats and were made in retaliation for her report of the
initial sexual assault and other opposition to sex-based mistreatment. Jane

Doe reported this incident to the school.

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d. Instead of adequately disciplining those who bullied and threatened Jane
Doe, LCPS forced Jane Doe to make changes in her own class schedule. Jane
Doe’s class schedule was changed, despite objections from her parents.

e. Jane Doe received threatening messages in October 2022 on social media to
include, “the world without people like you who are just board and cause
problems for they’re entertainment purposes need to be lynched,” by another
student. Judge Pamela Brooks ruled in favor of Jane Doe in January 2023,
granting a two year protective order against the student who threatened her
with death.

These unconscionable acts caused Jane Doe even more emotional and psychological
trauma, and LCPS failed to protect her from and was deliberately indifferent to the sex-
based and retaliatory threats and the physical assault that exacerbated the trauma of the
original horrific sexual assault.”

The actions of LCPS following the sexual assault were deliberately indifferent and failed
to prevent further assault, and the school was certainly on notice after the August 26"
incident that Jane Doe faced a substantial risk of further threats or physical assault.

Such deliberate indifference made Jane Doe vulnerable to further targeted harassment at
school.

Jane Doe and her parents were advised by LCPS administrators not to discuss the sexual

assault of their daughter with anyone and were told “‘we can’t talk about it.”

* As stated above, Jane Doe was a transfer student to Stone Bridge High School. On May 20, 2021, John
Doe and Jane Roe had a phone call with school to discuss Jane Doe’s wellbeing after she experienced
several health issues during the school year. School administrators assured the parents that Jane Doe’s
wellbeing was a priority for the school, and they would personally work to make sure she was safe on
campus. Days later, she was raped.

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Loudoun County Sherriff’s office confirmed to Fox News by a written statement that an
investigation took place: "We can confirm a May 28, 2021 case that involved a thorough
2-month-long investigation that was conducted to determine the facts of the case prior to
arrest," the statement read. "This case is still pending court proceedings. The Loudoun
County Sheriffs Office is not able to provide any documents that pertain to a pending
case." (Exhibit 7).

Subsequently, in a statement made on October 15, 2021, Ziegler admitted that the school
failed to protect Jane Doe, saying: “To the families and students involved: My heart
aches for you, and I am sorry that we failed to provide the safe, welcoming and
affirming environment that we aspire to provide.” (Exhibit 8).

Ziegler also admitted that LCPS “inadvertently omitted some information” when
reporting disciplinary incidents to the Virginia Department of Education as required by
law and added that “[i]n the future, we will report events in real-time in our system.”
(Exhibit 9),

Ziegler then bizarrely blamed Title IX for its own failure to adhere to the law, claiming
that it (Title IX) was insufficient to protect victims of sexual assault, and that he would
lobby for revisions to the law in the future.

Ziegler also promised to discipline alleged assailants quicker in an effort to protect
future victims, despite his initial claim that the existing law prohibited LCPS from doing
so, “to the extent we are legally permitted to do so, we will begin disciplinary action at
the time of the incident, rather than suspending that action until the end of the Title IX or
criminal investigation.” (Exhibit 10).

LCPS did not even begin a Title IX investigation of the rape of Jane Doe until

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October 19, 2021, nearly five months after the incident occurred. At no time after the
incident did LCPS conduct a threat assessment of the assailant, nor provide any support
services to Jane Doe as required by Title IX.

In fact, nine days later, LCPS hired outside counsel, Blankingship and Keith to conduct
an internal investigation of the incidents, and “review LCPS’s responses to the incidents
and to provide any recommendations for improvement.” (Exhibit 11, “Report Regarding
Investigation Into Misconduct at Stone Bridge High School and Broad Run High
School,” dated December 31, 2021).

Loudoun County Commonwealth’s Attorney Buta Biberaj said the assailant was
released from juvenile detention as the case proceeded, “Based on the information that
we had and the fact that we were waiting for forensic evidence to come back, the statute
required his release,” she said. “He appeared to be a good candidate to be put on
electronic monitoring based on the information that was provided.” (Exhibit 12).
Indeed, Biberaj even suggested that there were two sides to the assault: “[W]e know,
what sometimes is reported initially is not then what the end result of all the facts are.”
This startling quote appears to be an intentional attempt to dimmish the credibility of
and tarnish the character of Jane Doe. (Exhibit 12).

In fact, the Loudoun County Public School system was previously aware that Jane Doe’s
attacker had inappropriate sexual contact with another student a few years earlier on
school grounds. Despite this knowledge, the LCPS system failed to protect Jane Doe

(and others) from the harm she subsequently suffered.

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> The December 5, 2022, Grand Jury Report revealed that Biberaj’s office never contacted LCPS to ensure
that the court’s requirement prohibiting the predator from returning to SBHS had been followed. (Grand
Jury Report Pg. 11).

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The now convicted sexual predator is currently being held in a juvenile mental health
facility after being convicted of the charges of sexual battery and forcible sodomy on
October 25, 2021, in the Juvenile and Domestic Relations Court of Loudoun County.
Subsequently to the predator’s conviction, a grand jury impaneled by the County
released a report (hereinafter “the Report’’) detailing LCPS’ misdeeds in responding to
the Plaintiffs sexual assault. (December 5, 2022, Grand Jury Report Attached As
Exhibit 13).

The most egregious findings of the scathing Report* include, but are not limited to the
following:

a. The assailant’s sexually deviant behavior was noticed by educators and family
members well before the Plaintiff's assault, but no one at LCPS intervened until
it was too late. (Report Pgs. 2, 5, 10, 12).°

b. A special education teaching assistant claimed after the assault that she saw two
pairs of feet under the bathroom stall on May 28, 2021 but did nothing about it:

“The assailant later acknowledged that ‘they usually don’t do anything’

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4 “According to the LCPS website, the stated mission of the safety and security division is ‘to provide a
safe and secure educational environment for all students, staff, and external stakeholders. This is
accomplished through the execution of a comprehensive and integrated security plan that constantly
evolves to address the ever-changing threat landscape.’ Yet on the afternoon of May 28, 2021, the director
of safety and security was mainly concerned with the fact that a disruptive parent was in the front office of
SBHS-not that a student had been sexually assaulted or that the assailant was at large in the school. His
testimony further revealed that he never even asked what caused the parent’s disruptive behavior, nor
did he make any inquiries about the sexual assault victim or the alleged perpetrator. The director of
safety and security also was never informed about, and played no role, the transfer of the SBHS assailant
to BRHS, notwithstanding the fact that the student was awaiting trial on two counts of forcible sodomy,
was ordered to wear an ankle monitor, had been assigned a pre-trial release officer and had a twelve-page
disciplinary.”

>On May 12, 2021, a little over two weeks before the assailant assaulted the Plaintiff, an educator wrote a
supervisor to express concern about his behavior: “...I wouldn’t want to be held accountable if
someone should get hurt.” (Report Pg. 2). Later, assailant stayed with his grandmother in the weeks after
he assaulted the Plaintiff. She referred to him as a “sociopath” who “does not care about consequences.”
(Report Pg. 10). His mother blamed LCPS for the escalation in his alarming behavior: “Only after his
actions escalated to concerning levels did they choose to listen and incorporate my input.” (Report
Pg. 10). Emphasis added.

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regarding two pairs of feet in a stall.’”” Most damningly, this inaction allowed the

brutal assault to continue: “After the teaching assistant left, the assailant again

forced penetration against the female student, this time orally.”

c. The assailant was at large in the school building for over three hours after his
assault on the Plaintiff and was not discovered until he left school for the day’s
dismissal: “A teacher who knew the assailant was pulled in to try to locate the
assailant via camera footage.” (Report Pg. 6).

d. Instead of placing the school on lockdown to locate him, LCPS was more
concerned with the Plaintiff's father’s visible (and understandable) distress as a
result of the sexual assault rather than the actual assault. Handwritten notes
from now-Deputy Superintendent Ashley Ellis briefly detail the sexual assault.
Ellis wrote that the Plaintiff's father was “acting inappropriately,” “need[ed] to
be gone by 3:30,” and that the Plaintiff “arranged to have sex in bathroom.” At
the end of the note, almost casually, Ellis wrote that the assailant “took off’ and
that “mom has been informed he’s missing.” Inexplicably, this is the note’s only
direct reference of the assailant. (Report Attachment 4).

e. The assailant was allowed to return to the same school as the Plaintiff on the next
school day after the assault. From there, he was “back in school on his computer
deleting conversations—and potential evidence—from Discord.” (Report Pg. 7).

f. LCPS deliberately withheld information from parents about the Plaintiff's assault

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° A May 28, 2021, email from SBHS Principal Timothy J. Flynn only briefly mentioned the “alleged
sexual assault,” detailing instead that “the Father showed up and created a second incident...[T]his was
quite a show that scared and intimidated students and staff...He probably should have been arrested...”
(Report Attachment 5). Emphasis added. This attitude is also reflected in a conversation between LCPS
officials in Attachment 19 of the Report).

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displaying a “consistent lack of transparency on the part of LCPS.” (Report Pg.
21).

g. LCPS’ falsely claimed that it could not complete a Title [X investigation until
the assailant was charged with crime(s) by law enforcement. (Report Pg. 17).

h. In what appears to be an enormous conflict with the information now publicly
available, Mark Smith, the LCPS Title IX Coordinator at the time of the
Plaintiff's assault, also served as the school system’s Chief of Staff. He reported
directly to Ziegler, who was the former Title [X coordinator.’

i. In an August 2021 email chain with Douglas Fulton, the Director of School
Administration at LCPS and the only official who seemed to actually care about
what happened to the Plaintiff, Mark Smith defended LCPS’ decision not to start
an investigation immediately, referring to the assault as a “student allegation of
an attempted sexual assault.” It speaks volumes that Smith, LCPS’ Title [x
Coordinator, would refer to the assault as “attempted” three months after it
occurred. (Report Attachment 19)

I. Fulton first asked Smith whether an investigation was
ongoing since the assailant had been criminally charged:
“The mom has shared that her son was charged. Have we
started a Title IX investigation? The incident occurred last
May.”

II. When confronted by Fulton about LCPS’ failure to

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” Mark Smith “repeatedly testified” that he could not investigate until criminal charges were filed because
the Plaintiff's assault was just an “allegation of an attempted sexual assault.” He was later fired for his
inaction. (Report Pg. 17).

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immediately investigate the assault, Smith wrote that he
was “still operating from an allegation of an attempted
sexual assault which is not under Title [X.”

Fulton responded by reminding Smith that attempted
sexual assault does come under Title IX and therefore an
immediate investigation was required. He concluded his
email by confirming that John Doe and/or Jane Roe was
never given the option to file a Title IX complaint.

This internal correspondence indicates that Fulton was the
only LCPS official who consistently advocated for an
immediate investigation in compliance with federal

regulations.

j. The woman responsible for the Title [X investigation into the Plaintiff's assault

testified that her investigation was the first Title [X investigation she had ever

done. (Report Pg. 17).

k. Ziegler’s statement at the June 22, 2021, school board meeting denying

knowledge of the sexual assault was a “bald-faced lie.” (Report Pg. 8).

l. The assailant harassed and made sexually inappropriate comments to a female

student at BRHS on September 9, 2021, less than one month before the October

6, 2021 sexual assault. (Report Pg. 12).8

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* The Report states that LCPS’ failure to properly handle the assault of the Plaintiff allowed the assailant
to assault the young woman in October of 2021: “It is our considered judgment that the October 6, 2021
sexual assault at BRHS never should have occurred. Had any one of a number of individuals across a
variety of entities spoken up or realized a serious problem was brewing regarding earlier incidents at
BRHS then the sexual assault most likely would not have occurred. But nobody did.” (Report Pg. 12).

Emphasis added.

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m. Buta Biberaj’s office appears to have been unaware that the assailant returned to
in-person instruction at a different LCPS school until after the October 6, 2021
assault at BRHS. (Grand Jury Report Pg. 11).°

n. Every school board member of LCPS testified that they first learned that the
SBHS assailant and BRHS assailant was the same individual from a Daily Wire
report, not from any LCPS official. (Report Pg. 15).

o. The Title IX investigation into the assailant’s assault on the Plaintiff did not
occur or even begin until October 19, 2021—five months after the sexual assault
of the Plaintiff. The Grand Jury noted in its report that this delay was
“indefensible.” (Report Pg. 15). The Report added that the “lack of cooperation”
between the County Sheriff’s Office and LCPS “unquestionably” contributed to
this delay. (Report Pg. 18).!°

64, On December 6, 2022, Ziegler was fired from LCPS as a result of the Grand Jury’s
findings.

65. On December 12, 2022, Ziegler was indicted on three misdemeanor charges for
misconduct in his role as LCPS superintendent, including one count of misdemeanor
false publication, one count of misdemeanor prohibited conduct, and one count of

misdemeanor penalizing an employee for a court appearance.

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” The Report noted that an individual from the Commonwealth Attorney’s office testified: “[t]o be
perfectly frank, when 1 was agreeing to release him and putting in a condition that he was not to return to
Stone Bridge, it was my belief that the school would take some action because that just seems logical.
He’s on the radar, right?” (Report Pgs. 11-12). Emphasis added.

'° “Several witnesses testified that the sheriff and superintendent are not on speaking terms and tension
exists between the leadership of LCPS and LCSO. The citizens of Loudoun County deserve better than
two high profile individuals publicly squabbling and refusing to put aside any petty differences.
Ultimately, the sheriff and superintendent need to put aside any disagreements they may have had and
recognize the important relationship between their offices. The safety of the students and the community
require it.” (Report Pg. 18).

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LCPS Public Information Officer Wayde Byard was charged with felony perjury on the

same day.

COUNT ONE
Discrimination in Violation of Title IX

20 U.S.C. § 1681 et seq.
Plaintiff incorporates by reference all preceding paragraphs, as if set out fully herein.
Plaintiff Jane Doe was sexually assaulted by another student of LCPS.
Plaintiff Jane Doe reported the sexual assault to LCPS administrators and employees on
the same day as when the attach occurred.
LCPS was obligated to address these reports, since student-on-student sexual assault is a
form of sex discrimination prohibited by Title IX.
LCPS had actual knowledge that Jane Doe was sexually assaulted based on a first-hand
report by Jane Doe.
The individuals with actual knowledge of Doe’s sexual assault had the authority and
ability to investigate and address the sexual assault.
LCPS was further obligated to address these reports under Title [IX because LCPS had
substantial control over the student who sexually assaulted Jane Doe, as well as the
context in which the assault occurred—a women’s restroom at Stone Bridge High
School.
LCPS’s failure to respond to Jane Doe’s sexual assault as required by law and failure to
prevent further threats and assault was severe, pervasive, and created a hostile
educational environment for Doe based on her sex.

In light of these circumstances, LCPS’s response as a Title LX funding recipient was

clearly unreasonable.

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76. By its acts and omissions, LCPS was deliberately indifferent to Doe’s sexual assault,

physical assault, and bullying that created a hostile educational environment for her.

LCPS’s deliberate indifference included, without limitation:

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b.

Failing to timely address Jane Doe’s report of the sexual assault;

Questioning Jane Doe before her parents were informed of the sexual assault;
Failing to tell Jane Doe that she could decline to provide a written statement;
Ignoring Jane Doe’s notable distress when LCPS had notice of a sexual
assault;

Failing to immediately notify Jane Roe and John Doe that Jane Doe had been
sexually assaulted;

Failing to offer Jane Doe any meaningful help or support after she reported
the sexual assault;

Conducting a shoddy in-house investigation and failing to notify Jane Doe or
her parents about the final outcome of the investigation;

Failing to notify Jane Doe and/or her parents when its in-house investigation
had been completed;

Failing to take adequate disciplinary action against Doe’s assailant;

Failing to notify Doe or her parents of Doe’s rights under Title IX, including
the right to file a complaint against the school;

Failure to timely initiate and complete a Title [X investigation;

Failing to provide Doe with accommodations that would permit her to

continue her education in a safe environment;

. Failing to inform her that she was entitled to accommodations to help her

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deal with her trauma and stay on track academically;

n. Failing to prioritize Jane Doe’s well-being after the sexual assault;

o. Egregiously failing to protect Doe from further assault and bullying that was
severe, pervasive, and objectively offensive. These compounded events
deprived Doe of a safe school environment and her right to an education;

p. Intimidating her and her parents from further pursuing her legal rights; and

q. Failing to create, implement, distribute, and enforce sexual harassment
policies and procedures in complaints with Title [X, despite Title [X’s
requirement that it do so.

77, LCPS’s actions and inactions caused Doe to undergo harassment and make her liable
or vulnerable to it. She has been subjected to verbal and physical abuse by her peers
because she reported her assault.

78. LCPS’s deliberate indifference to Doe’s sexual assault deprived her of access to
educational opportunities and benefits provided by LCPS.

79. As a direct and proximate result of LCPS’s violation of Doe’s rights under Title IX,
Doe has suffered and continues to suffer losses of educational opportunities and
benefits, along with injuries, damages, and losses, including, but not limited to
emotional distress, fear, anxiety, physical injury, and expenses for past and future

medical and psychological care.
COUNT II
Retaliation in Violation of Title IV
20 U.S.C. § 1681, et seq.

80. Plaintiff incorporates by reference all preceding paragraphs, as if set out fully herein.

81. Plaintiff Jane Doe was sexually assaulted by another student of LCPS.

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82. Plaintiff Jane Doe engaged in protected activity by reporting the sexual assault to
LCPS administrators and employees.

83. Plaintiff Jane Doe engaged in further protected activity by reporting to LCPS
administrators and employees additional instances of sex-based and/or retaliatory
mistreatment, assault, and harassment, as further alleged above.

84. In retaliation for engaging in such protected activity, LCPS changed Jane Doe’s
academic schedule to accommodate the perpetrators of the threats and physical
assault at school, which was materially adverse to her educational opportunities
because it disrupted her routine without the consent of her parents, harmed her
academic performance, and punished her for actions she was not responsible for.

85. There was no legitimate reason to change Jane Doe’s schedule, as any purported
benefits from changing her schedule could have been attained by taking appropriate
action against the perpetrators and/or changing their schedules instead of targeting
Jane Doe for mistreatment.

86. In addition, despite multiple complaints by Jane Doe and her family, LCPS allowed
other students to create a retaliatory hostile educational environment for Jane Doe
that was severe and pervasive.

87. LCPS’s actions and inactions caused Doe to undergo harassment and make her liable
or vulnerable to it. She has been subjected to verbal and physical abuse by her peers
because she reported her assault and continued to complain about and/or otherwise
oppose the sex-based and retaliatory mistreatment to which she was repeatedly
subjected.

88. Mr. Calvin Adams, an administrator at Stone Bridge High School, did not believe

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that Jane Doe was sexually assaulted and dismissed her claims. Jane Doe relied on
the support of Mr. Adams since the beginning since he was present with her on the
day of the sexual assault (May 28, 2021).

On November 11, 2021, Jane Doe was taunted by a male classmate at school, who in
reference to the sexual assault and the physical assault taunted her with the question
“Why didn’t you fight back?” This taunt furthers a talking point that has been
prevalent in the mainstream media (furthered by comments from the mother of the
perpetrator of the sexual assault) since the attack. (Exhibit 14).

LCEPS’s deliberate indifference to Doe’s sexual assault and to her complaints about
sex-based and retaliatory harassment deprived her of access to educational
opportunities and benefits provided by LCPS, and their acts and/or intentional
omissions were in retaliation of her making a complaint of rape while at their high
school, which interfered with their desire to implement a significant policy agenda
that was undermined by the attack on Jane Doe..

As a direct and proximate result of LCPS’s violation of Doe’s rights under Title IX,
Doe has suffered and continues to suffer losses of educational opportunities and
benefits, along with injuries, damages, and losses, including, but not limited to
emotional distress, fear, anxiety, physical injury, and expenses for past and future
medical and psychological care.

LCPS utterly failed to protect Jane Doe from further harm and were deliberately
indifferent to the assaults and threats she faced.

The physical assaults, taunts, and bullying were so extreme that Jane Doe was forced

to transfer schools in order to protect herself from further harm.

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REQUESTED RELIEF

WHEREFORE, the Plaintiff respectfully prays that this Honorable Court:

. Enter judgment in favor of Plaintiff Jane Doe, by her parents and next friends, Jane

Roe and John doe, on her claim of discrimination under Title IX;
Enter judgment against Loudoun County School Board;
Declare Defendant Loudoun County School Board’s conduct in violation of Title IX

of the Education Amendments of 1972.

. Award Plaintiff compensatory damages of at least $30,000,000.00 or in an excess

amount established at trial, including, without limitation, payment of Plaintiffs
expenses occurred as a result of the sexual assault and Loudoun County Public
Schools’ deliberate indifference damages for deprivation of equal access to the
educational opportunities and benefits provided by Loudoun County Public Schools;
and damages for past, present, and future emotional pain and suffering, ongoing
mental anguish, and loss of past, present, and future enjoyment of life;

Award injunctive relief to be determined at trial requiring Loudoun County School

Board to comply with Title IX;

. Award Plaintiff pre-judgment and post-judgment interest;

Award Plaintiff her court costs and expenses, including attorneys’ fees, pursuant to
42 U.S.C. § 1988(b); and

Grant such other relief as this Court deems just and proper.

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/s/
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A JURY TRIAL IS DEMANDED

Respectfully submitted,

Jane Doe, by her parents and next
friends,

Jane Roe and John Doe

By Counsel

